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          EXHIBIT 1
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                 BEFORE THE UNITED STATES JUDICIAL PANEL
                      ON MULTIDISTRICT LITIGATION



 IN RE: HAIR RELAXER                   MDL No.:
 PRODUCTS LIABILITY LITIGATION




           MEMORANDUM IN SUPPORT OF PLAINTIFFS’ MOTION
         FOR TRANSFER OF ACTIONS PURSUANT TO 28 U.S.C. § 1407
      FOR COORDINATED OR CONSOLIDATED PRETRIAL PROCEEDINGS




Dated: November 15, 2022
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                                     I.    INTRODUCTION

       Pursuant to 28 U.S.C. § 1407 and Rule 6.2 of the Rules of Procedure of the Judicial Panel

on Multidistrict Litigation (“Panel”), Plaintiffs Jenny Mitchell, Rugieyatu Bhonopha, Diane Grant,

and Bernadette Gordon (collectively, “Movants”) respectfully submit this memorandum in support

of their Motion for Transfer of Actions Pursuant to 28 U.S.C. § 1407 for Coordinated or

Consolidated Pretrial Proceedings.

       Movants seek transfer and assignment of all pending actions against Defendants L’Oréal

USA, Inc., L’Oréal USA Products, Inc. (together, “L’Oréal”), Strength of Nature, LLC, Strength

of Nature Global, LLC (“Strength of Nature”), Soft Sheen/Carson Inc., Soft-Sheen Carson LLC,

Soft Sheen Carson (W.I.), Inc. (together, “Soft Sheen”), Dabur International Ltd., Dabur USA,

Inc. (together, “Dabur”), Namaste Laboratories, LLC (“Namaste”), Godrej Son Holdings, Inc.,

Godrej Consumer Products, Ltd. (together, “Godrej”), PDC Brands (“PDC”), Parfums De Coeur,

Ltd. (“Parfums De Coeur”), Beauty Bell Enterprises, LLC d/b/a House of Cheatham, Inc., and

House of Cheatham, LLC (together, “House of Cheatham”) (collectively, “Defendants”) related

to injuries caused by hair care products containing endocrine-disrupting chemicals (“EDCs”), as

alleged in several cases filed nationwide as listed in the Schedule of Actions (the “Actions”), as

well as any subsequently-filed actions involving similar facts or claims, to the United States

District Court for the Northern District of Illinois before the Honorable Mary M. Rowland, who

currently presides over Gordon v. L’Oréal USA, Inc., et al., No. 1:22-CV-06033 (N.D. Ill.), or

before the Honorable Matthew F. Kennelly, who presides over the first-filed case in this litigation

(Mitchell v. L’Oréal USA, Inc., et al., No. 1:22-CV-05815 (N.D. Ill.)). There are presently not less

than nine substantially similar actions, filed on behalf of thirteen plaintiffs injured by hair care

products containing EDCs, in four different federal district courts across the United States alleging


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similar wrongful conduct by Defendants (the “Actions”). Movants are plaintiffs in four of the first

nine filed cases presently pending in the Northern District of Illinois, Northern District of

California, Southern District of New York, and Southern District of Georgia, respectively.

       All of the Actions involve common questions of law and fact that arise from Defendants’

manufacture, marketing, and sale of hair care products containing highly toxic EDCs, exposure to

which causes disruption of the endocrine system and various types of cancer and other health

problems, including, without limitation, uterine cancer, breast cancer, uterine fibroids,

endometriosis, and pre-term childbirth delivery.

                                     II.     BACKGROUND

       The Actions arise out of injuries caused by prolonged exposure to phthalates and other

EDCs contained in Defendants’ hair care products. Beginning in the 1970s, Defendants began

designing, manufacturing, marketing, and selling hair relaxer products, primarily to African-

American customers, across the United States and around the world. Hair relaxer products are

classified as creams or lotions and are specifically marketed to women of color to straighten their

hair, which in its natural state is typically characterized by dense curls that “naturally grows up

and out.”1

       Hair relaxing, or lanthionization, can be performed by a professional cosmetologist in a

salon or barbershop, or at home with at-home relaxer kits designed for individual use. Relaxers

are applied to the base of the hair shaft and left in place for a “cooking” interval, during which the

relaxer alters the hair’s texture by purposefully damaging the hair’s natural protein structure. The

effect of the protein damage straightens and smooths the hair. After a period of weeks (4-8 weeks



1
 Ayana Byrd & Lori Tharps, When Black Hair Is Against the Rules, The New York Times, April 30, 2014,
https://www.nytimes.com/2014/05/01/opinion/when-black-hair-is-against-the-rules.html.

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on average), depending on the hair’s natural growth rate, the treated portion of the hair grows away

from the scalp and new growth sprouts from the roots, requiring additional relaxer treatments to

smooth the roots. These additional treatments are colloquially referred to as “re-touches,” resulting

in women relaxing their new growth every four to eight weeks on average, usually for decades.

       Hair relaxers can, and often do, cause burns and lesions in the scalp, facilitating entry of

hair relaxer constituents into the body. Defendants’ hair relaxer products contain certain chemicals

called phthalates. Phthalates are endocrine disrupting chemical compounds used to make plastics

more durable. They also function as solvents and stabilizers in a variety of cosmetics and personal

care products.

       Numerous studies spanning more than two decades have demonstrated the adverse impact

that EDCs have on the male and female reproductive systems, such as inducing endometriosis,

developmental abnormalities, reproductive dysfunction and infertility, various cancers, and

metabolic syndrome. A wealth of scientific information is also available regarding long-term use

of hair relaxers, straighteners, and hair dyes containing EDCs, that should have alerted Defendants

to the specific and dangerous harms associated with their products when used as intended,

particularly in women of color. The Actions seek to hold Defendants liable for injuries caused by

their wrongful conduct in connection with the design, development, manufacture, testing,

packaging, promoting, marketing, distribution, labeling, and sale of their respective hair relaxer

products that contain EDCs.

                                  III.    LEGAL STANDARD

       Transfer is appropriate when actions pending in different judicial districts involve similar

questions of fact such that coordinating or consolidating pretrial proceedings would “promote the




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just and efficient conduct of such actions.” 28 U.S.C. § 1407. In relevant part, Section 1407

provides as follows:

         When civil actions involving one or more common questions of fact are pending in
         different districts, such actions may be transferred to any district for coordinated or
         consolidated pretrial proceedings. Such transfers shall be made by the judicial panel
         on multidistrict litigation authorized by this section upon its determination that
         transfers for such proceedings will be for the convenience of parties and witnesses
         and will promote the just and efficient conduct of such actions.

Id. See also In re Nifedipine, 266 F. Supp. 2d 1382, 1382 (J.P.M.L. 2003).

                                        IV.     ARGUMENT

         The Actions, and the many tag-along actions that will certainly follow, are appropriate for

§ 1407 transfer because they involve common issues and transfer will benefit the parties,

witnesses, and the court system as a whole. Further, given the strong factual connection of the

Actions to the Northern District of Illinois and its geographically central and accessible location,

transfer to that district is the most appropriate.

A.       Transfer is Appropriate Under 28 U.S.C. § 1407.

         “The purpose of § 1407. . . is to eliminate the potential for conflicting contemporaneous

pretrial rulings by coordinating district and appellate courts in multidistrict related civil actions.”

In re Plumbing Fixture Cases, 298 F. Supp. 484, 491-92 (J.P.M.L. 1968). Centralization is meant

to “eliminate duplicative discovery; prevent inconsistent pretrial rulings; and conserve the

resources of the parties, their counsel, and the judiciary.” In re Ethicon Physiomesh Flexible

Composite Hernia Mesh Products Liability Litigation, 254 F. Supp. 3d 1381, 1382 (J.P.M.L.

2017).

         Pretrial transfer under § 1407 is appropriate and necessary here. The Actions involve

materially identical facts, the same or similar Defendants, and the same or similar legal claims.

The number of cases grows by the day. Unless these cases are transferred for pretrial proceedings,

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the parties will incur excessive costs due to duplicative discovery, and will face the risk of

inconsistent rulings on a variety of matters.

       1. The Actions Involve Common Factual and Legal Issues.

       Each of the constituent Actions assert overlapping claims and will require adjudication of

whether Defendants violated state deceptive trade practices statutes, product liability laws,

warranty laws, other tort laws, and committed common law fraud in their manufacturing,

marketing, and sale of hair relaxer products containing the highly toxic EDCs. This Panel has

noted that Section 1407 “does not require a complete identity or even a majority of common factual

or legal issues as a prerequisite to transfer.” In re Keurig Green Mountain Single-Serve Coffee

Antitrust Litig., 24 F. Supp. 2d 1361, 1363 (J.P.M.L. 2014) (quotation omitted). The allegations

in these Actions, however, are consistent and materially identical; Defendants knew or should have

known that their hair relaxer products were dangerous and defective because they contain highly

toxic EDCs and they manufactured, marketed, and sold them anyway. The only material difference

among some of the Actions is the specific hair relaxer product(s) purchased and used by Plaintiffs.

       These allegations provide the basis of each of the Actions. As such, common questions of

fact for each of the Actions include:

               •   Whether Defendants’ hair relaxer products contain EDCs;

               •   Whether hair relaxer products containing EDCs are harmful when absorbed
                   into the human body;

               •   Whether Defendants knew or should have known of publicly-available studies
                   demonstrating the adverse impact EDCs have on the male and female
                   reproductive systems;

               •   Whether Defendants knew or should have known of available scientific
                   evidence regarding the dangers associated with long-term use of hair relaxers,
                   straighteners, and hair dyes containing EDCs;

               •   Whether Plaintiffs’ health conditions were caused by prolonged use of

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                    Defendants’ hair relaxer products; and

               •    Whether Defendants violated deceptive trade practice statutes, products
                    liability laws, warranty laws, and other tort laws by marketing and selling their
                    dangerous and defective hair relaxer products.

Adjudicating these and other common issues in a single transferee district will benefit the parties

and witnesses and promote judicial efficiency by allowing a single court to coordinate the pretrial

proceedings governing claims with these issues. Further, each of the constituent Actions contains

similar theories of recovery. Thus, common questions of law also exist among the cases. Given

the common questions of law and fact, transfer and centralization is appropriate here.

       2. Transfer will Serve the Convenience of the Parties and Witnesses and Will
          Promote the Just and Efficient Conduct of the Actions.

       Transferring these Actions to a single court for coordinated or consolidated pretrial

proceedings promotes efficiency and convenience for both Plaintiffs and Defendants. Transfer

and coordination or consolidation under a single judge for pretrial proceedings also promotes

consistency in the legal rulings and the discovery process. The purpose of the multidistrict

litigation process is to “eliminate the potential for contemporaneous pretrial rulings by

coordinating district and appellate courts in multidistrict related civil actions.” In re Multidistrict

Private Civ. Treble Damages Litig., 298 F. Supp. 484, 491-92 (J.P.M.L. 1968). According to the

Manual for Complex Litigation, the following four factors govern whether transfer will facilitate

the convenience of the parties and promote the just and efficient conduct of the transferred cases:

               1.      The elimination of duplicative discovery;

               2.      The avoidance of conflicting rules and schedules;

               3.      The reduction of litigation cost; and

               4.      The conservation of the time and effort of the parties, attorneys, witnesses,

                       and courts.

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Manual for Complex Litigation (Fourth), § 20.131, at 219.

      With nine cases filed on behalf of thirteen plaintiffs in four different districts—and with

those numbers about to substantially increase—the size of this litigation weighs in favor of

transfer. Although there are currently only nine pending actions (though Movants anticipate many

more), transfer is nonetheless beneficial because the Actions rely upon the same studies to support

their claims, are in the same stage of litigation, and are based on materially identical conduct. See

In re Viagra (Sildenafil Citrate) Products Liability Litig., 176 F. Supp. 3d 1377 (J.P.M.L. 2016)

(centralizing fourteen pending actions, where all actions principally relied on the same studies to

support their claims and, therefore, issues concerning general causation, the background science,

regulatory history, and marketing would be common to all actions);                   In re Air Crash at

Tegucigalpa, Honduras, on May 30, 2008, 598 F. Supp. 2d 1368 (J.P.M.L. 2009) (“Although only

two actions are pending, centralization under Section 1407 is more suitable than informal

coordination given that both actions have been pending for nearly the same length of time and

arise from the same accident.”); In re Helicopter Crash Near Wendle Creek, British Columbia on

August 8, 2002, 350 F. Supp. 2d 1358 (J.P.M.L. 2004) (creating multidistrict litigation for four

pending actions arising out of same helicopter crash); In re Terrorist Attacks on September 11,

2001, 295 F. Supp. 2d 1377 (J.P.M.L. 2003) (centralizing six pending actions against alleged

supporters of terrorists who injured or killed plaintiffs in September 11, 2001 terrorist attacks).2


2
  See also In re First Nat’l Collection Bureau, Inc., Tel. Consumer Prot. Act (TCPA) Litig., 11 F. Supp. 3d
1353, 1354 (J.P.M.L. Apr. 8, 2014) (“Although there are relatively few parties and actions at present,
efficiencies can be gained from having these actions proceed in a single district,” such as “eliminat[ing]
duplicative discovery; prevent[ing] inconsistent pretrial rulings . . . and conserv[ing] the resources of the
parties, their counsel and the judiciary.”); In re Nutramax Cosamin Mktg. & Sales Practices Litig., 988 F.
Supp. 2d 1371, 1371–72 & n.2 (J.P.M.L. 2013) (creating multidistrict litigation for three pending actions);
In re: Zurn Pex Plumbing Products Liability Litigation, 572 F. Supp. 2d 1380, 1381 (J.P.M.L. 2008)
(granting transfer and consolidation of three cases and six potential tag-alongs because of the “overlapping
and, often, nearly identical factual allegations” that will likely require duplicative discovery and motion
practice); In re: Park W. Galleries, Inc., Mktg. & Sales Practices Litig., 645 F. Supp. 2d 1358, 1360

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      Indeed, without transfer and centralization, this litigation, which addresses a serious product

defect contained within most of the hair relaxer products currently on the market in the United

States, would create the needless and unnecessary expense of overlapping discovery (including

expert discovery) and judicial inefficiency.          Further, different federal courts would make

duplicative rulings on the same issues, which could result in contradictory findings on significant

pretrial disputes.    Litigation of this scope and importance should not be beset with such

inconsistencies and inefficiencies.

                a. Transfer will Eliminate Duplicative Discovery.

        Because each Action is based upon the same facts and presents the same legal issues,

plaintiffs in each of the Actions are, in turn, likely to seek overlapping discovery. See In re Auto

Body Shop, 2014 WL 3908000, at *1-2 (J.P.M.L. 2014) (noting that transfer was appropriate to

eliminate duplicative discovery when the actions shared a common factual core). The Actions are

also likely to involve complicated, technical issues regarding the chemical composition of the hair

relaxer products at issue and the harmful effects of EDCs on the human body that will most likely

result in substantial expert discovery and Daubert briefing and hearings. That fact alone militates

in favor of transfer. See, e.g., In re Natrol, Inc. Glucosamine/Chondroitin, 2014 WL 2616783, at

*1 (J.P.M.L. 2014). Similarly, plaintiffs in each of the Actions are likely to seek to depose many

of the same corporate witnesses of Defendants, which again favors centralization. See, e.g., In re

Auto Body Shop, 2014 WL 3908000, at *1 (transfer to a single judge was beneficial because he or



(J.P.M.L. 2009) (ordering transfer where three actions were pending in three districts); In re: Optical Disk
Drive Prod. Antitrust Litig., 701 F. Supp. 2d 1382 (J.P.M.L. 2010) (ordering transfer of five cases pending
in two total districts); In re Wireless Telephone Replacement Protection Programs Litig., 180 F. Supp. 2d
1381, 1382 (J.P.M.L. 2002) (granting transfer of three consumer protection cases); In re Philadelphia Life
Ins. Co. Sales Practices Litig., 149 F. Supp. 2d 937, 938 (J.P.M.L. 2001) (granting transfer of two deceptive
insurance sales cases and finding that such transfer would promote the just and efficient conduct of the
litigation).

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she could “structure pretrial proceedings to accommodate all parties’ legitimate discovery needs

while ensuring that common witnesses are not subjected to duplicative discovery demands”); In

re Enfamil Lipil, 764 F. Supp. 2d 1356, 1357 (J.P.M.L. 2011) (“Centralizing the actions will allow

for the efficient resolution of common issues and prevent unnecessary or duplicative pretrial

burdens from being placed on the common parties and witnesses.”).

       Given the similarity of the Actions and the potential for duplicative discovery, transfer here

will undoubtedly conserve the parties’ resources. See, e.g., In re Air Crash at Dallas/Fort Worth

Airport, 623 F. Supp. 634, 635 (J.P.M.L. 1985). It will conserve the courts’ resources, as it would

assign responsibility for overseeing a pretrial plan to one judge as opposed to many different

federal judges. See, e.g., In re PineIntel, 342 F. Supp. 2d 1348, 1349 (J.P.M.L. 2004).

               b. Transfer will Avoid Conflicting Rules and Schedules.

       The Panel considers the possibility of inconsistent rulings on pretrial issues because of the

possible res judicata or collateral estoppel effects on other cases. See In re Enron Securities

Derivative & ERISA Litig., 196 F. Supp. 2d 1375, 1376 (J.P.M.L. 2002) (granting a transfer in part

to prevent inconsistent pretrial rulings).

       Pretrial procedures will necessarily involve dismissal motions, discovery motions, and

Daubert motions, among others. Without transfer and centralization, conflicting rulings on these

motions across several courts will cause unnecessary confusion and duplicative effort. Further,

although only four district courts presently have cases, given the sheer number of hair relaxer

products containing EDCs there will undoubtedly be many more materially similar cases filed

across the United States. Section 1407 transfer is thus the most efficient way to ensure that pretrial

processes across all of these cases are uniformly litigated and adjudicated, thereby avoiding the




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situation where multiple courts reach contrary conclusions and potentially subject litigants to

conflicting responsibilities and obligations.

               c. Transfer will Reduce Litigation Costs and Conserve the Time and Effort
                  of the Parties, Attorneys, Witnesses, and Courts.

       Each of the Actions, and the many tag-along actions soon to follow, will benefit from

having a single transferee judge address and adjudicate issues related to discovery and pretrial

motion practice. Otherwise, courts and lawyers may be briefing the same issues in several different

district courts, across several circuits, with conflicting laws, witnesses may be called to depositions

in numerous cases, and third parties may be called to produce documents and witnesses in several

different cases.

B.     The Northern District of Illinois is the Most Appropriate Transferee Venue.

       The Panel balances a number of factors in determining the transferee venue, including: the

experience, skill and caseloads of the available judges; the number of cases pending in the

jurisdiction; the convenience of the parties; the location of the witnesses and evidence; and the

minimization of cost and inconvenience to the parties. See In re: Preferential Drugs Prods.

Pricing Antitrust Litig., 429 F. Supp. 1027, 1029 (J.P.M.L. 1977); In re: Tri-State Crematory

Litig., 206 F. Supp. 1376, 1378 (J.P.M.L. 2002).

       Based upon these factors, the Northern District of Illinois, in Chicago, is the appropriate

transferee venue for this litigation. First, Chicago has a strong factual connection to the litigation.

See In re National Prescription Opiate Litig., 290 F. Supp. 3d 1375, 1379 (J.P.M.L. 2017). It is

one of the largest urban areas in the United States and has a large minority population, including

one of the largest African-American communities in the United States, to whom the defective and

dangerous hair relaxer products at issue were primarily marketed and sold. Second, one of the

defendants in at least four of the Actions, Namaste, has its principal place of business located in

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Chicago.3 And, all Defendants introduced their defective and dangerous hair care products into

interstate commerce with knowledge and intent that such products be sold in the State of Illinois,

including Chicago.

        In addition, there are presently five pending cases on behalf of nine different plaintiffs in

the Northern District of Illinois, the most of any judicial district. Moreover, the Northern District

of Illinois is a geographically central and accessible forum to the jurisdictions where other actions

are presently pending (district courts in California, New York, and Georgia) and is relatively close

to the remaining Defendants’ various headquarters in New York (L’Oréal), New Jersey (Dabur),

Connecticut (PDC and Parfums De Coeur), and Georgia (Strength of Nature, Soft Sheen, and

House of Cheatham). See id. (focusing on the proposed transferee venue’s geographic location

and convenience); see also In re Polyester Staple Antitrust Litig., 259 F. Supp 2d. 1376 (J.P.M.L.

2003). Chicago is the third largest city in the United States, it has ample accommodations for

business travelers, and is serviced by two large international airports, Chicago O’Hare

International Airport (“ORD”) and Chicago Midway International Airport (“MDW”), with routes

to every corner of the country and beyond. See Gregory Hansel, Extreme Litigation: An Interview

with Judge Wm. Terrell Hodges, Chairman of the Judicial Panel on Multidistrict Litigation, 19

Me. B.J. 16, 19 (2004) (“[W]e take into account…the accessibility of the court, particularly air

travel in selecting a transferee district.”). The infrastructure is certainly in place to host this MDL.

        Moreover, the Northern District of Illinois has capable staff with a long history of

successfully managing high-profile multidistrict litigations.         See, e.g., In re StarLink Corn

Products Liability Litig., 152 F. Supp. 2d 1378 (J.P.M.L. 2001); In re Sulfuric Acid Antitrust Litig.,


3
 Additionally, Sally Beauty Supply—one of the largest specialty retailers and distributors of professional
beauty supplies, including Defendants’ hair relaxer products—was owned by a Chicago-based company,
Alberto-Culver Corporation, for many years.

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270 F. Supp. 1379 (J.P.M.L. 2003); In re Factor VIII or IX Concentrate Blood Products Liability

Litig., 303 F. Supp. 2d 1377 (J.P.M.L. 2004); In re Sears, Roebuck & Co. Tools Marketing and

Sales Practices Litig., 381 F. Supp. 2d 1383 (J.P.M.L. 2005); In re: Plasma-Derivative Protein

Therapies Antitrust Litig., 657 F. Supp. 2d 1371 (J.P.M.L. 2009); In re: National Collegiate

Athletic Ass’n Student-Athlete Concussion Injury Litig., 988 F. Supp. 2d 1373 (J.P.M.L. 2013); In

re: Fluidmaster, Inc., 65 F. Supp. 3d 1397 (J.P.M.L. 2014); In re: Navistar Maxxforce Engines

Marketing, Sales Practices and Products Liability Litig., 67 F. Supp. 3d 1382 (J.P.M.L. 2014); In

re Clearview AI, Inc., Consumer Privacy Litig., 509 F. Supp. 3d 1368 (J.P.M.L. 2020); In re

TikTok, Inc., Consumer Privacy Litig., 481 F. Supp. 3d 1331 (J.P.M.L. 2020); In re Society

Insurance Company COVID-19 Business Interruption Protection Insurance Litig., 492 F. Supp.

3d 1359 (J.P.M.L. 2020); In re Recalled Abbott Infant Formula Products Liability Litig., MDL

No. 3037, 2022 WL 3134144 (J.P.M.L. Aug. 5, 2022). The Northern District of Illinois’ docket

also demonstrates that the court has the capacity to handle this litigation. As of December 31,

2021, the Northern District of Illinois had 12,341 pending cases—the lowest number of cases that

it has had in the last five years—with a median time from filing to disposition of 7.4 months.4

          Finally, within the Northern District of Illinois, United States District Judges Mary M.

Rowland and Matthew F. Kennelly are both excellent jurists who can expertly preside over this

litigation. Judge Rowland currently presides over Gordon v. L’Oréal USA, Inc., et al., No. 1:22-

CV-06033 (N.D. Ill.), one of the very first Actions filed in this litigation. Judge Rowland served

as a United States Magistrate Judge from 2012-2019 and was nominated and confirmed to the

Northern District bench by President Trump in 2019. The American Bar Association unanimously

rated Judge Rowland “well qualified” for the position. While she served as Magistrate Judge in In


4
    https://www.uscourts.gov/sites/default/files/data_tables/fcms_na_distprofile1231.2021.pdf

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re 100% Grated Parmesan Cheese Marketing and Sales Practices Litig., 201 F. Supp. 3d 1375

(J.P.M.L. 2016), to the best of Movants’ knowledge, despite her stellar reputation and experience,

Judge Rowland has not yet had the opportunity to oversee an MDL as a district judge. Assigning

this matter to Judge Rowland will, therefore, advance the Panel’s interest in reaching out to newer

judges and expanding the judiciary’s MDL experience because, as Judge Breyer pointedly noted:

“[y]ou need a skill set in order to handle very large cases, but the only way you acquire that skill

set is through experience.”5 Judge Rowland is an excellent and capable choice for overseeing this

litigation and advancing the Panel’s interests in expanding both diversity and MDL experience.

          Correspondingly, Judge Kennelly, who is currently presiding over the first-filed Action, is

an experienced jurist who was nominated and confirmed to the Northern District bench by

President Clinton in 1999. Judge Kennelly is a fair, demanding but reasonable, extremely

organized, and efficient judge accustomed to presiding over complex cases “involving thousands

of plaintiffs and several defendant[s].”6 He is also a current Panel Judge of the JPML and,

consequently, has extensive knowledge of what it takes to fairly and efficiently manage

multidistrict litigation. Indeed, he has “significant experience with MDL matters”7 and has

successfully managed numerous high-profile MDLs during his lengthy tenure. See, e.g., In re

Recalled Abbott Infant Formula Products Liability Litig., -- F. Supp. 3d --, 2022 WL 3134144

(J.P.M.L. Aug. 5, 2022); In re: Androgel Products Liability Litig., 24 F. Supp. 3d 1378 (J.P.M.L.




5
  See U.S. Judicial Panel on Multidistrict Litigation, “Multidistrict Litigation Terminated through
September 30, 2016,” at 6-11 (listing 161 previous MDLs in Southern District of New York as of September
30, 2016), available at: http://www.jpml.uscourts.gov/sites/jpml/files/JPML_Terminated_Litigations-FY-
2016_0.pdf.
6
    https://www.ilnd.uscourts.gov/_assets/_news/Kennelly%20MDL%20Final.pdf
7
    Id.

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2014);8 In re Watson Fentanyl Patch Products Liability Litig., 883 F. Supp. 2d 1350 (J.P.M.L.

2012); In re Text Messaging Antitrust Litig., 588 F. Supp. 2d 1372 (J.P.M.L. 2008).

                                     V.      CONCLUSION

       For the above-stated reasons, Movants respectfully request that the Panel transfer the

Actions set forth on the attached Schedule and all subsequently-filed tag-along cases for

coordinated or consolidated pretrial proceedings in the United States District Court for the

Northern District of Illinois before either the Honorable Mary M. Rowland or the Honorable

Matthew F. Kennelly.

Dated: November 15, 2022
                                              Respectfully submitted,

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  This litigation was subsequently renamed In re Testosterone Replacement Therapy Products Liability
Litigation Coordinated Pretrial Proceedings.
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